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7                        UNITED STATES DISTRICT COURT
8                       EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES,                         No. 2:06-cr-00494-MCE
11             Plaintiff,
12        v.                                ORDER
13   BRANDON DEAN,
14             Defendant.
15                               ----oo0oo----
16
17        Defendant Brandon Dean asks that he be released on bail,
18   pursuant to 18 U.S.C. § 3143, pending appeal of his felony
19   convictions.    Defendant asserts that his appeal will likely
20   result in reversal of these convictions.
21        For the reasons set for below, Defendant’s motion will be
22   denied.
23
24                                 BACKGROUND
25
26        On August 4, 2009, Defendant Brandon Dean was found guilty
27   of Conspiracy to Commit Bank Fraud, 18 U.S.C. § 371 (Count One)
28   and Bank Fraud, 18 U.S.C. § 1344 (Count Six).

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1    On January 28, 2010, this Court sentenced Defendant to one year
2    and one day in federal custody.     On February 2, 2010, the Court
3    entered judgment against Defendant and ordered him to surrender
4    for service of sentence on February 25, 2010.       On February 7,
5    2010, Defendant filed a notice of appeal.       The present motion was
6    filed on February 23, 2010.
7
8                                   ANALYSIS
9
10        Under 18 U.S.C. § 3143, a party moving for bail pending
11   appeal must meet two requirements: (1) the person will not flee
12   or pose a danger to the safety of any other person or the
13   community if released; and (2) the appeal is not for the purpose
14   of delay and raises a substantial question of law or fact likely
15   to result in reversal, an order for a new trial, a sentence that
16   does not include a term of imprisonment, or a reduced sentence to
17   a term of imprisonment less than the total time already served
18   plus the expected duration of the appeal process.        18 U.S.C.
19   § 3143(b).
20        Dean alleges that he is not likely to flee nor does he pose
21   a danger to any person in the community if released.         The
22   government does not challenge those assertions.
23        Dean further contends that the appeal raises substantial
24   questions of fact and law related to his conviction and
25   sentencing.   According to Dean, “this Court erred in its efforts
26   to assist the jury in determining which facts were intended by
27   the government to establish particular charged offenses [and] the
28   Court erred in answering a jury question.”       Mot. for Bail Pending

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1    Appeal 4:22-24.    The government challenges these assertions, and
2    claims that Defendant has failed to show a substantial question
3    of law that will result in reversal or an order for a new trial.
4          “‘Substantial’ defines the level of merit required in the
5    question presented and ‘likely to result in reversal or an order
6    for a new trial’ defines the type of question that must be
7    presented.”    United States v. Handy, 761 F.2d 1279, 1280 (9th
8    Cir. 1985) (emphasis previously added).       “A ‘substantial
9    question’ is one that is fairly debatable or fairly doubtful.”
10   United States v. Wheeler, 795 F.2d 839, 840 (9th Cir. 1986).
11         Here, Defendant has not met this burden.       Defendant asserts
12   that the requisite substantial question exists because of the
13   Court’s response to a jury question, and appears to reference
14   interaction between the Court and the jury on August 3, 2009.
15   At that time, the jury sent a note to the Court asking for
16   further explanation as to the acts and dates supporting specific
17   counts.   The Court responded with information that had already
18   been disclosed to the jury.
19         The Court limited its response in that regard so as to not
20   improperly influence the jury.      Under the circumstances present,
21   the Court does not believe said response raises any substantial
22   issue that will likely result in either reversal or an order for
23   a new trial.
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1
2                                 CONCLUSION
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4         For the reasons stated above, the Motion for Bail Pending
5    Appeal (Docket No. 167) is DENIED.
6         IT IS SO ORDERED.
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     Dated: March 25, 2010
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9                                     _____________________________
10                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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